                            IN THE UNITED STATE DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

UNITED STATES OF AMERICA,                              )
                                                       )
               Plaintiff,                              )
                                                       )       No. 3:06-CR-170
                                                       )       (JORDAN/SHIRLEY)
v.                                                     )
                                                       )
FERNANDO TIJERINA,                                     )
                                                       )
               Defendant.                              )

                                MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the district

court as may be appropriate. This cause came before the undersigned on September 10, 2007, for

a motion hearing on Defendant Tijerina’s Motion for List of Government Witnesses [Doc. 34],

Motion for a Bill of Particulars [Doc. 36], and Motion to Sever.1 [Doc. 37] Assistant United States

Attorney Tracee Plowell was present representing the government. Attorney Brian J. Hunt was

present representing Defendant Tijerina, and attorney Charles Flood was present representing

Defendant Rodriguez. Defendants Tijerina and Rodriguez were also present. The Court will

address each motion in turn.

       I. Motion for List of Government Witnesses [Doc. 34]

               In his first motion, Defendant Tijerina moves the Court to order the government to

provide a list of the witnesses the government intends to call at trial. At the hearing, the government


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         The Court also heard oral argument on Defendant Tijerina’s Motion to Suppress [Doc.
39], but that motion will be addressed in a Report and Recommendation to follow.

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indicated that it would provide the defendants with all Jenks and Giglio material approximately

seven days in advance of trial, but that it otherwise opposed the motion.

               The Sixth Circuit has held that “[o]rdinarily, a defendant is not entitled to a list of the

names and addresses of the government’s witnesses.” United States v. Perkins, 994 F.2d 1184, 1190

(6th Cir. 1993) (citing Fed. R. Crim. P. 16). In light of Perkins, and in the absence of any evidence

that Defendant Tijerina would be unduly prejudiced should his motion be denied, the Court finds

that the Defendant’s motion [Doc. 34] is not well-taken and the same is hereby DENIED.

       II. Motion for a Bill of Particulars [Doc. 36]

               In his second motion, Defendant Tijerina moves the Court to order the government

to file a bill of particulars setting out the following details: the approximate date of Defendant

Tijerina’s entry into the conspiracy; the agreement entered into by Defendant Tijerina with the other

conspirators; when that agreement was reached; and any acts or actions which directly or

circumstantially demonstrate membership in the conspiracy, as well as a description of the actions

and when the actions occurred.

               During the hearing, the government indicated that the events in question occurred in

the Eastern District of Tennessee and in the “stash house” located in the Northern District of

Georgia, specifically, in Forsyth County. The government further indicated that the events in

question occurred in the two year period set forth in the Superseding Indictment. [Doc. 16.]

Additionally, the government stated that it had allowed the defendants some open file discovery in

this case. The government opposed providing any further specifics, arguing that revealing any

further details would provide the defendants with insight into the government’s legal strategy.




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               The Sixth Circuit has held that

               [t]he purposes of a bill of particulars are to inform the defendant of
               the nature of the charge against him with sufficient precision to
               enable him to prepare for trial, to avoid or minimize the danger of
               surprise at the time of trial, and to enable him to plead his acquittal
               or conviction in bar of another prosecution of the same offense when
               the indictment itself is too vague, and indefinite for such purposes.

United States v. Birmley, 529 F.2d 103, 108 (6th Cir. 1976). However, a bill of particulars may not

be used as “a tool for the defense to obtain disclosure of all evidence held by the government before

trial”, nor as a means of gaining insight into the government’s legal theories. United States v.

Salisbury, 983 F.2d 1369, 1375 (6th Cir. 1993); United States v. Gabriel, 715 F.2d 1447, 1449 (10th

Cir. 1983).

               After a review of the Superceding Indictment [Doc. 16], the Court finds that the

Superceding Indictment, coupled with the statements of government’s counsel at the hearing and

the discovery in this case, all provide sufficient details to the defendants to allow them to prepare

for trial, to avoid or minimize the danger of surprise at the time of trial, and to enable them to plead

their acquittal or conviction in bar of another prosecution of the same offense. Birmley, 529 F.2d

at 108. Accordingly, Defendant Tijerina’s second motion [Doc. 36] is DENIED.

       III. Motion to Sever [Doc. 37]

               In his third motion, Defendant Tijerina moves the Court to sever the trial of

Defendant Tijerina from that of his co-defendants. As grounds, Defendant Tijerina states that failure

to sever would result in substantial prejudice and possibly deny him the right to confront witnesses.

Specifically, Defendant Tijerina argues that the evidence against his co-defendants is much more

extensive than the evidence against Defendant Tijerina, thus creating a risk that the jury might be

swayed by spill-over evidence when considering the charges against Defendant Tijerina. The

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defendant further argues that the government may introduce post conspiracy statements made by

Defendant Tijerina’s co-defendants, and that, should the co-defendants elect not to testify, Defendant

Tijerina would be denied his constitutional right to confront witnesses presented against him. The

government opposes the defendant’s motion and contends that it will not seek to introduce at trial

any post-conspiracy statements made by Defendant Tijerina’s co-defendants.

                Assuming proper joinder in the indictment, it is well-settled that absent a serious risk

of compromise to a specific trial right, individuals indicted together should be tried together. United

States v. Davis, 170 F.3d 617, 621 (6th Cir. 1999). Initially, the Court notes that Defendant Tijerina

does not contend that joinder in this case is improper under Rule 8 of the Federal Rules of Criminal

Procedure. Rather, Defendant Tijerina contends that joinder is so prejudicial to him that severance

should be ordered. Fed. R. Crim. P. 14.

                In assessing the propriety of severance under Rule 14, the Court must balance the

public’s interest in avoiding multiple trials with the defendant’s interest in a fair trial. United States

v. Wirsing, 719 F.2d 859, 864-65 (6th Cir. 1983). No right to severance arises because the evidence

against one defendant is “far more damaging” than the evidence against another defendant. United

States v. Causey, 834 F.2d 1277, 1288 (6th Cir. 1987), or merely because the likelihood of acquittal

would be greater if severance were granted. United States v. DeFranco, 30 F.3d 664, 669 (6th Cir

1994). To the contrary, it is well-established that to be entitled to a severance, a defendant must

show “substantial,” “undue,” or “compelling” prejudice. United States v. Lopez, 309 F.3d 966, 971

(6th Cir. 2002) (defendant failed to demonstrate “substantial,” “undue,” or “compelling” prejudice

due to spillover evidence against co-conspirator).




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                After considering the arguments presented before and against severance, the Court

finds that Defendant Tijerina has not made the showing of substantial, undue, or compelling

prejudice necessary to support his motion to sever. In addition, given the government’s indication

that it does not intend to present any post-conspiracy statements made by Defendant Tijerina’s co-

conspirators, the Court finds that a failure to sever will not result in a violation of the Confrontation

Clause. Accordingly, Defendant’s motion [Doc. 37] is hereby DENIED.

        IV.     Conclusion

                For the reasons described above, Defendant Tijerina’s motions [Docs. 34, 36, 37] are

hereby DENIED.

                IT IS SO ORDERED.


                                                        ENTER:


                                                          s/ C. Clifford Shirley, Jr.
                                                        United States Magistrate Judge




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